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From:            Kurt Weiland
To:              Gary Wrubel
Subject:         RE: Deja Vu Review of Drawings
Date:            Friday, February 12, 2021 9:43:05 AM
Attachments:     image001.gif
                 image002.jpg


Hi Gary, I was informed that I was not to review the plan submittal, you will need to contact Joe
Meyers at the City of Ypsilanti to discuss the reasons. jmeyers@cityofypsilanti.com

Regards,

Kurt Weiland
From: Gary Wrubel <g.wrubel@moltusbuild.com>
Sent: Thursday, February 11, 2021 4:58 PM
To: Kurt Weiland <WeilandK@pittsfield-mi.gov>
Subject: Deja Vu Review of Drawings


CAUTION: This email originated from outside your organization. Exercise caution when
opening attachments or clicking links, especially from unknown senders.

Kurt,
I want to follow up with an email in addition to my voicemail regarding the plan review that we
submitted back on 1-22-2021 in regard to our project on 31. N. Washington Ave..
I have left a couple of voicemails to the city to inquire the progress of any comments or approval of
the stamped drawings but have had no response.
When my colleague dropped off the plans, he was told by the clerk that we should hear something
back within a week.
Can you shed some light on this so I can give the owner some sort of progress report on this project?
Any information would be appreciated.
Thank you.

Gary Wrubel | Project Manager
Moltus Building Group
3200 James Savage Rd., Suite 4
Midland, Michigan 48642
www.moltusbuild.com
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